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                                                                                  2021 Mar-09 PM 10:15
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA




               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION

JOSHUA OTWELL, et al.,                        ]
                                              ]
      Plaintiffs,                             ]
                                              ]
v.                                            ]             4:19-cv-01120-ACA
                                              ]
HOME POINT FINANCIAL CORP.,                   ]
                                              ]
      Defendant.                              ]


     ORDER REGARDING PRETRIAL SCHEDULING CONFERENCE

      This matter is SET for jury trial on August 23, 2021.

      Pursuant to Federal Rule of Civil Procedure 16, this case is SET for a pretrial

scheduling conference on June 24, 2021 at 10:00 A.M., Courtroom 6B, Hugo L.

Black United States Courthouse, 1729 5th Avenue North, Birmingham, Alabama.

The conference will address the matters outlined in Rule 16, including the limitation

of issues to be tried, ruling on pending motions, and settlement possibilities.

      Counsel attending the conference must be well-informed about the factual and

legal issues of the case and to have authority to enter appropriate stipulations and

participate in settlement discussions. Counsel appearing at the conference may be

required to proceed at trial notwithstanding the naming of others as designated trial

counsel.
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      The court DIRECTS counsel to review and comply with the following

instructions:

      Promptly upon receipt of this notice, plaintiff’s counsel is DIRECTED to

initiate discussions with other counsel to determine the undisputed facts and to

clarify each party’s contentions.

      On or before June 17, 2021, plaintiff’s counsel is to email to the chambers

email address (axon_chambers@alnd.uscourts.gov) a JOINT PROPOSED

PRETRIAL ORDER in Word format, with a copy to opposing counsel. A sample

of the proposed pretrial order and its Exhibit A is attached at the end of these

instructions to illustrate the format preferred by the court and the substance of such

an order. Each order must be tailored to fit the circumstances of the individual case.

The court anticipates that, in most cases, at the end of the pretrial scheduling

conference, the court will adopt and sign the proposed pretrial order with only minor

insertions and changes. The standard Exhibit A to the proposed pretrial order will

be incorporated by reference into the pretrial order but need not be reproduced by

counsel unless counsel propose significant changes.

      The court DIRECTS the parties to include the following dates in the proposed

pretrial order regarding motion in limine deadlines: (1) motions in limine shall be

filed on or before July 19, 2021; and (2) responses in opposition shall be filed on or


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before June 29, 2021. If the parties need additional information or clarification to

complete their joint proposed pretrial order, they may email chambers.


               DONE and ORDERED this March 9, 2021.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




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                  SAMPLE PROPOSED PRETRIAL ORDER

                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                          [Name of Division] DIVISION

[Name of the Plaintiff(s)],                )
                                           )
      Plaintiff(s),                        )
                                           )
v.                                         )      Case No.: [Case Number]
                                           )
[Name of the Defendant(s)],                )
                                           )
      Defendant(s).                        )


                               PRETRIAL ORDER

      A pretrial scheduling conference was held in the above case on [Date],

wherein, or as a result of which, the following proceedings were held and actions

were taken:

      1.      Appearances. Appearing at the conference were:

              For [Enter Plaintiff(s)]:_________________________________

              For [Enter Plaintiff(s)]:_________________________________

              For [Enter Defendant(s)]:_______________________________

              For [Enter Defendant(s)]:_______________________________

[Include a line for each party in the case, unless the same counsel represents all
parties on a particular side.]

      2.      Nature of the Action, Jurisdiction and Venue.
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                 (a)     The nature of this action is as follows: [For example,
                         employment discrimination; Fair Labor Standard Act,
                         breach of contract, etc.]

                 (b)     The court has subject matter jurisdiction of this action under the
                         following statutes, rules or cases:

[List each statute, rule or case claimed to authorize the court’s subject matter
jurisdiction in this action].

                 (c)     All jurisdictional and procedural requirements prerequisite to
                         maintaining this action [have/have not] been met.

                 (d)     Personal jurisdiction and/or venue [are/are not] contested.

[If personal jurisdiction or venue is contested, briefly set out the relevant
arguments.]

       3.        Parties and Trial Counsel. Any remaining fictitious parties are hereby

STRICKEN. The parties and designated trial counsel are correctly named as set

out below:

                                   Parties:                       Trial Counsel:
 Plaintiff(s):         [Name of the Plaintiff(s)]         [Name of Counsel]
                       [Name of the Plaintiff(s)]         Same Counsel
 Defendant(s) [Name of the Defendant(s)]                  [Name of Counsel]
 :
                       [Name of the Defendant(s)]         Same Counsel

[Include a line and designation for each party in the case.]

       4.        Pleadings. The following pleadings have been allowed:


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[List pleadings in the order in which they were filed and allowed. Do not include
pleadings that have been stricken or otherwise disallowed. See Fed. R. Civ. P. 7(a)
for a list of allowable pleadings.]

      5.     Statement of the Case.

             (a)    Narrative Statement of the Case.

[The summary must be concise and appropriate for the court to use in advising
the jury of the basic nature of the case during voir dire.]

             (b)    Undisputed Facts.

[The parties shall set out in separately numbered paragraphs each fact that is not
in dispute. The parties are reminded that the court, in an effort to reduce the need
for evidence at and length of the trial, expects them to approach this task in a good
faith effort to agree on all relevant facts for which there is no reasonable basis for
disagreement. In a jury trial, this section will be read to the jury and the jury will
be instructed to accept these facts as true.]

             (c)    Plaintiff’s Claims.

[For each defendant, each Plaintiff shall concisely state each legal theory relied
upon and shall set out the factual allegations which he or she expects to prove in
support of each theory. Vague, conclusory, and general claims and allegations
are not acceptable. By this stage of the proceedings, Plaintiff is expected to know
what the claims are and must state precisely the issues expected to be tried. Each
claim must be set out in a separately numbered paragraph, appropriately labeled.
Under each claim, each Plaintiff shall list any citations to the major cases, statutes,
etc. that support his or her legal theory.]

             (d)    Defendant’s Defenses.

[For each claim against him or her, each defendant shall concisely state each legal
theory relied upon and shall set out the factual allegations that he or she expects
to prove in support of each legal theory. Vague, conclusory, and general claims
and allegations are not acceptable. By this stage of the proceedings, Defendant is
expected to know what the defenses are and must state precisely the issues
expected to be tried. Each defense must be set out in a separately numbered
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paragraph, appropriately labeled. Under each defense, each Defendant shall list
any citations to the major cases, statutes, etc. that support his o rher theory.]

      6.    Discovery and Other Pretrial Procedures.

            (a)    Pretrial Discovery.

                   i.                           Pursuant to previously entered orders
                                         of the court, discovery is closed.

                   ii.                        The parties are given leave to proceed
                                         with further discovery provided it is
                                         commenced in time to be completed by


            (b)    Pending Motions.

[List all pending motions or state that there are no motions pending. Motions
should be listed in separately numbered paragraphs, leaving sufficient space for
the court to indicate its rulings below each listed motion.]

            (c)    Motions In Limine. Motions in limine must be filed on or before

__________ and shall be accompanied by supporting memoranda. As to each matter

counsel seeks to exclude, counsel shall indicate whether the exclusion is “opposed”

or “unopposed” by counsel for the other side. Parties are encouraged to resolve

evidentiary issues by stipulation whenever possible. Responses in opposition to the

motions in limine must be filed on or before ___________.

      The parties must provide the court with a courtesy copy of each motion in

limine and each response to a motion in limine, including corresponding exhibits.

Each page must be three-hole punched and securely bound in a three-ring binder or

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a large clip, with tabs separating each exhibit. Courtesy copies should reflect the

CM/ECF case number, document number, date, and page stamp on each page.

       7.     Trial Date.

              (a)    This       case     is    set   for   [Jury/Non-Jury]   trial   on

_______________________.               This case will be ready for trial on or after

_______________________.

              (b)    The trial of this matter is expected to last ________ days.

       8.     The parties are to comply fully with each provision contained in Exhibit

A – Standard Pretrial Procedures which is incorporated into this order by reference

as if fully set forth herein.

       9.     The parties are to read and comply fully with each provision contained

in Exhibit B – Guidelines for Conduct of Trials, which is incorporated into this order

by reference as if fully set forth herein.

       The court ORDERS that the above provisions be binding on all parties unless

modified for good cause shown.

       DONE and ORDERED this __________ day of ____________, 20_____.


                                              ___________________________________
                                              ANEMARIE CARNEY AXON
                                              UNITED STATES DISTRICT JUDGE



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            EXHIBIT A – STANDARD PRETRIAL PROCEDURES

1.    Damages. No later than thirty (30) calendar days before the date set for trial,
      the parties shall file and serve a list itemizing all damages and equitable relief
      being claimed or sought; such list shall show the amount requested and, where
      applicable, the method and basis of computation.

2.    Witnesses B Exchange of Lists.

      The parties shall file witness lists on or before July 6, 2021. If a witness
shown on the list will be presented by deposition, the party designating that witness
must specify the pages of the deposition to be used.

      Objections to witness lists due on or before July 19, 2021.

       Unless specifically agreed by the parties in writing or allowed by the court for
good cause shown, the parties shall be precluded from offering substantive evidence
through any witness not included on the party’s witness list. The listing of a witness
does not commit the party to have that witness available at trial or to call that witness
to testify, but it does preclude the party from objecting to the presentation of that
witness’s testimony by another party.

       As to any witnesses shown on the list to be presented by deposition, within
seven (7) business days after the filing of the list, an opposing party may serve a list
of additional pages of the deposition to be used, and may serve and file a list
disclosing any objections to the use of the deposition testimony under Federal Rules
of Civil Procedure 32 or 26(a)(3)(B). Any objections to deposition testimony should
be accompanied by excerpts from the depositions including the testimony to which
the objection relates. Objections not made within such time, other than objections
under Federal Rules of Evidence 402 and 403, shall be deemed waived, unless such
failure to timely object is excused by the court for good cause shown.

3.    Exhibits.

      The parties shall file exhibit lists on or before July 6, 2021.

      Objections to exhibit lists must be filed on or before July 19, 2021.

      (a)    Marking. Each party that anticipates offering more than five (5)
             exhibits as substantive evidence shall premark the exhibits in advance
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          of trial, using exhibit labels and lists available from the Clerk of Court.
          The court will provide up to 100 labels; if any party needs more labels,
          that party must use labels of the same type as those supplied by the
          court. Counsel must contact the courtroom deputy for the appropriate
          exhibit list form for use at trial. The court urges counsel to be judicious
          in determining which documents are actually relevant to necessary
          elements of the case.

    (b)   Examination by Opposing Party. Except where beyond the party’s
          control or otherwise impractical (e.g., records from an independent
          third-party being obtained by subpoena), each party shall make exhibits
          available for inspection and copying. The presentation of evidence at
          trial shall not ordinarily be interrupted for opposing counsel to examine
          a document that has been identified and was made available for
          inspection.

    (c)   Court’s Copies. In addition to the premarked trial exhibits mentioned
          above, the court requests for the bench an exhibit notebook of
          anticipated trial exhibits. The notebook should include a copy of the
          Exhibit List. The parties shall also email a courtesy copy of the exhibit
          notebook, in Word format, to the chamber’s email address at
          axon_chambers@alnd.uscourts.gov.

    (d)   Limiting Personal Information in Transcripts and Exhibits. The
          judiciary’s privacy policy restricts the publication of certain personal
          data in documents filed with the court. The policy requires limiting
          Social Security and financial account numbers to the last four digits,
          using only initials for the names of minor children, and limiting dates
          of birth to the year. However, if such information is elicited during
          testimony or other court proceedings, it may become available to the
          public. The better practice is for you to avoid introducing this
          information into the record in the first place. Please take this into
          account when questioning witnesses, presenting documents, or making
          other statements in court. If a restricted item is mentioned in court, you
          may ask to have it stricken from the record or partially redacted to
          conform to the privacy policy, or the court may do so on its own motion.

THE PARTIES ARE REMINDED THAT THEY WILL NOT BE ALLOWED
TO USE AT TRIAL ANY WITNESS OR EXHIBIT NOT DISCLOSED IN
ACCORDANCE WITH FEDERAL RULES OF CIVIL PROCEDURE 26(a)

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OR 26(e), UNLESS THE FAILURE WAS SUBSTANTIALLY JUSTIFIED OR
THE OFFERING PARTY CAN SHOW THAT ITS FAILURE TO DISCLOSE
WAS HARMLESS. See Fed. R. Civ. P. 37(c)(1).

4.    Use of Depositions at Trial.

      (a)   The court will accept the parties’ written agreement to use a deposition
            at trial even though the witness is available. In the absence of such an
            agreement, parties must comply with Federal Rule of Civil Procedure
            32.

      (b)   Before trial, counsel must provide the courtroom deputy with a copy of
            all depositions to be used as exhibits at trial.

      (c)   To the extent possible, counsel will designate the portion of any
            deposition that counsel anticipates reading by citing pages and lines in
            the final witness list. Objections, if any, to those portions (citing pages
            and lines) with supporting authority must be filed at least TEN (10)
            business days before trial.

      (d)   Use of videotape depositions is permitted and the parties must make
            good faith efforts to agree on admissibility or edit the videotape to
            resolve objections.

      (e)   In a non-jury trial, for any deposition offered as a trial exhibit, counsel
            shall attach to the front of the exhibit a summary of what each party
            intends to prove by the deposition testimony, with line and page
            citations, and include an appropriate concordance of the deposition
            pages offered.

5.    Trial Submissions to Court.

      The court does not request and the parties shall not file trial briefs.

6.    Jury Charges and Verdict Form.

       On or before August 9, 2021, the parties shall file a single, joint proposed
jury charge, including all necessary instructions, or definitions applicable to the
specific issues of the case.



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      (a)   Each requested instruction must be numbered and presented on a
            separate sheet of paper with authority cited.

      (b)   In their joint proposed jury materials, counsel are to include all
            necessary instructions or definitions, specifically including: (1) the
            prima facie elements of each cause of action and defense asserted;
            (2) legal definitions required by the jury; (3) items of damages; and
            (4) methods of calculation of damages. Counsel are to use the Eleventh
            Circuit Pattern Jury Instructions, or appropriate state pattern jury
            instructions, as modified by case law or statutory amendments,
            wherever possible.       Any deviations must be identified, and
            accompanied with legal authorities for the proposed deviation.

      (c)   Even if the parties, in good faith, cannot agree on all instructions,
            definitions or questions, the parties should nonetheless submit a single,
            unified charge. Each disputed instruction, definition, or question
            should be set out in bold type, underlined or italics and identified as
            disputed. Each disputed item should be labeled to show which party is
            requesting the disputed language. Accompanying each instruction shall
            be all authority or related materials upon which each party relies. The
            parties shall email the unified charge in Word format, to the
            chambers email address at axon_chambers@alnd.uscourts.gov.


       Together with the joint proposed jury charge, the parties must file a joint
proposed verdict form. The court expects that shortly after the close of evidence,
the parties will submit any amendments to the proposed jury charge and verdict form
required by the evidence presented at trial.




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        EXHIBIT B – GUIDELINES FOR CONDUCT OF TRIALS

     These guidelines reflect the standard practices of this court in the trial of
cases. They do not alter the rules of civil or criminal procedure, the rules of
evidence, or local rules.

1. Hours. Trials ordinarily commence at 9:00 a.m. and continue until
approximately 5:00 p.m., Mondays through Fridays.

     a. Punctuality. You, your client, and your witnesses should be
     present and ready to proceed promptly at the appointed time, both
     at the beginning of the day and after recesses. Counsel should be
     present at the courthouse at least 30 minutes before the beginning
     of each trial day to avoid delays and to be available to discuss
     unanticipated problems.

     b. Recesses. A witness whose examination has not been
     completed at the time of a recess or adjournment should be back
     in the witness box at the time trial is scheduled to resume.

     c. Requests for changes. Make known to the court as soon as can
     be anticipated any requests for changes in the trial schedule,
     including those relating to religious holidays or arising because
     of unavailability of witnesses.

     d. Conferences. In jury cases, the judge may hold a brief
     conference in chambers at the end of the trial day or before the
     trial commences or resumes, or both, at which time counsel can
     discuss the schedule of witnesses and documents and any
     anticipated evidentiary problems. Alert the court reporter if you
     want to have some motion, argument, proffer, or other matter
     placed on the record during the conference.

     e. Settlement discussions. Although settlements should occur to
     the extent possible before the trial is scheduled to begin, counsel
     are encouraged to discuss settlement as the trial progresses.
     These discussions should, however, ordinarily be conducted
     during recesses and adjournments. Do not assume that the court
     will delay the start or resumption of trial for such discussions.
     Advise the court if at any point you believe the court's assistance

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     might be helpful in arriving at a settlement.

2. Selection of jury.

     a. Voir Dire. At the conclusion of general voir dire by the court,
     counsel will be allowed 20 minutes per party to conduct their own
     voir dire.

     b. Size. The size of the jury in civil trials ranges from six to
     twelve, with alternates to be set by the judge, taking into account
     such factors as the expected length of trial and the number of
     jurors available for that and other scheduled trials. Absent
     special agreement by the parties, only a unanimous verdict of all
     selected jurors not excused or discharged for good cause may be
     received.

     c. Peremptory challenges. The number of peremptory challenges
     to be allowed will depend upon (1) the number of jurors not
     excused or challenged for cause and (2) the size of the jury to be
     selected. For example, if 18 jurors remain after any challenges
     for cause, the court might allow each side five peremptory
     challenges to select a jury of 8 or might allow each side four
     peremptory challenges to select a jury of 10. Peremptory
     challenges are exercised by indicating on a form (provided by the
     court) the name and juror number of the person(s) so challenged.
     When completed, these forms are shown to the court and
     opposing counsel at the bench, outside the hearing of the panel;
     at this time, the court can consider any "Batson" issues. Subject
     to consideration of any "Batson" issues, the peremptory
     challenges shown on the lists will be accepted by the court.
     Jurors not peremptorily challenged by either side will, in the
     order in which they were presented, be deemed as selected, up to
     the number of jurors previously determined by the court. As an
     example, for a jury of eight, the first 8 jurors not peremptorily
     challenged by either side will constitute the jury.

3. Opening statements. Opening statements are limited to 20 minutes per party.
Although a description of the basic claims and defenses and of the principal
factual disputes between the parties is usually helpful, do not be argumentative


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and do not in jury cases refer to disputes about questions of law. In non-jury
cases, opening statements are frequently omitted or limited to stating what claims
and defenses are being pursued and what witnesses will be called.

4. Witnesses. Cooperative witnesses not immediately needed should, to the
extent practical, be placed “on call.” However, you remain responsible for having
sufficient witnesses available in court so that, absent developments that could not
have been reasonably anticipated, the trial may proceed during the normal trial
hours without the need for adjournments or lengthy recesses to obtain further
witnesses. Since defendants should be ready to proceed with their evidence
promptly at the conclusion of the plaintiff’s presentation, plaintiff’s counsel
should keep defendants’ counsel advised as to when they expect to complete their
presentation of evidence.

     a. Order. Counsel are expected to cooperate in resolving
     scheduling problems, including agreement in most circumstances
     for a witness to be called out of the normal order, even if the
     testimony of another witness is interrupted.                Such
     accommodations are the norm for physicians and other similar
     professionals called as witnesses and may be appropriate for
     other witnesses with personal, family, or occupational conflicts.
     Counsel are also expected to cooperate in placing "on call" those
     employees of another party whose absence would disrupt such
     party's normal business activities.

     b. Production. Do not ask opposing counsel to produce a witness
     or a document in a way that might suggest to the jury that such
     counsel would be concealing evidence if the witness or document
     is not produced. Address such requests to opposing counsel (or,
     if necessary, to the court) in a manner that will not be heard by
     the jury.

     c. Oaths. The courtroom deputy ordinarily administers an
     oath/affirmation to the witnesses and immediately asks their
     name and place of residence. If you know that the standard
     questions might be inappropriate (for example, the witness is in
     prison), so advise the deputy before the witness is called to the
     stand.



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     d. Release. Witnesses should be released from further attendance
     or subpoena as soon as they are no longer needed. After
     testifying, a witness shall be deemed as released by consent
     unless counsel or the court indicates that the witness should not
     be so excused. You should not consent to release of a witness if
     you will later offer in evidence a prior inconsistent statement
     about which the witness was not examined or if you wish to make
     a proffer of testimony of that witness to which an objection was
     sustained.

     e. Exclusion. Requests under Federal Rule of Evidence 615 for
     exclusion of witnesses from the courtroom should be made
     before examination of the first witness begins, preferably before
     opening statements. Be alert for witnesses arriving during trial
     and inadvertently coming into the courtroom. Although the Rule
     does not prevent talking with excluded witnesses during recesses
     about their expected testimony, do not in such discussions
     disclose the courtroom testimony given by other witnesses. After
     testifying and provided they will not be recalled, witnesses are no
     longer subject to the Rule and may remain in the courtroom.

5. Examination of witnesses. Absent physical disabilities, examination of a
witness should ordinarily be conducted while the witness is seated in the
witness box and counsel is standing at the lectern.

     a. Approaching clerk’s desk or witness box. Permission of the
     court to approach the clerk’s desk or the witness box is not
     necessary if for the purposes of submitting or obtaining an
     exhibit, handing an exhibit to the witness, or conducting
     examination about an exhibit when counsel needs to be next to
     the witness during the examination. Return to the lectern after
     such examination is finished.

     b. Other locations. Request permission of the court if you wish
     the witness to step from the witness box (for example, to display
     an injury, to prepare a sketch, or to identify objects in a
     photograph). Assist the court in assuring that your voice and that
     of the witness are sufficiently loud to be heard and that opposing
     counsel’s view is not obstructed.


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     c. Depositions. As you use or read from a deposition, indicate the
     page and line number of the starting and stopping points.
     Colloquies and objections of counsel should ordinarily be
     omitted, as should questions that are rephrased or changed prior
     to the answer being given. When the deposition refers to an
     exhibit, counsel may, in addition to the identification used in the
     deposition, indicate the exhibit number used during the trial.
     Persons asked to read the deponent's testimony should do so fairly
     and impartially. Depositions are not ordinarily read aloud in non-
     jury cases; you should submit to the court well before the trial is
     completed a list of the portions you want the court to read.

     d. Harassment. Treat witnesses with courtesy, even when
     conducting vigorous impeachment. Do not shout at, ridicule,
     harass, or unfairly embarrass a witness. Use temperate language
     when requesting the court's assistance to control or direct a
     witness who is giving unresponsive or argumentative answers.

6. Objections. Rise before (or as) you object; this draws the attention of the court
and other counsel to you and should alert the witness not to answer until your
objection is ruled upon. While standing, state that you are objecting and specify
concisely the ground(s) of your objection (for example, “hearsay,” “irrelevant,”
“lack of personal knowledge,” “leading question”). Do not make a speech or
argument to the jury. Do not disparage opposing counsel or the witness. Do not
attempt to summarize other evidence. Do not suggest an answer to the witness.


     a. Response by offeror. The person who asked the question
     should not interrupt the person making the objection except to
     withdraw the question or if the objection itself is being made in
     an improper manner (for example, as an argument to the jury or
     to suggest an answer to the witness). After the objection has
     been stated, you may indicate if the evidence is being offered
     only for a limited purpose or only against certain parties.

     b. Argument on the objection. Neither counsel should present
     arguments regarding the objection unless authorized or invited
     by the court. If you wish to be heard in argument, request the
     court’s permission.


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     c. Continuing objection. In some circumstances you may be
     allowed to have a “continuing objection” to a particular line of
     inquiry, and therefore, you may not have to repeat your objection
     to a series of questions. Typically, this occurs when your
     objection on the grounds of relevancy is overruled and you wish
     to make a relevancy objection to further questions on the same
     subject.

     d. Anticipating evidentiary problems. Evidentiary questions
     which may involve extended discussion and argument should be
     anticipated and called to the court’s attention at the start or end
     of the trial day so that the question can be adequately considered
     without having to interrupt the trial schedule.

7. Special equipment. Audio-visual equipment should be brought into the
courtroom and tested before or after trial hours or during a recess. You are
responsible for seeing that the trial is not substantially delayed while such
equipment is being set up. Make arrangements with the courtroom deputy if you
need special access to the courtroom.

8. Closing arguments. Unless otherwise allowed by the court, closing arguments
are limited to 30 minutes to the side. Counsel for the party having the burden of
proof shall be the first to present closing argument and may reserve a portion of
the allotted time (not in excess of initial time taken) to respond to the other
parties’ arguments. A party seeking damages and who is permitted to divide its
time of argument should address both liability and damages issues in its initial
argument. Do not express your own personal opinions about the facts. Do not
invite jurors to return a verdict as if they were in the position of one of the parties.
You may leave the lectern, but keep your voice sufficiently loud to be heard by
other counsel, the judge, and the court reporter.

9. Instructions. Persons are not ordinarily permitted to enter or leave the
courtroom during the time the court is instructing the jury. The court will provide
counsel with an opportunity to present objections or exceptions to the instructions
outside the hearing of the jury and before the deliberations begin either at the
bench or after excusing the jurors from the courtroom. Counsel are expected to
remain in general attendance at the courthouse while the jury is deliberating; the
failure to do so may be treated as a waiver of any right to object should the jury


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request and be given supplemental instructions.

10. Other Matters of Proper Decorum and Conduct.

     a. Do not argue with or disparage other counsel in the hearing of
     the jury. In most situations, the court's permission should be
     obtained before counsel engage in dialogue between themselves
     in the courtroom. Side comments between counsel should be
     limited to situations in which such conversations are intended to
     facilitate the fair and efficient conduct of the trial and not for any
     tactical advantage; they should, moreover, be done in a
     respectful and courteous manner that does not detract from the
     dignity of the proceedings. In-court offers to stipulate should
     ordinarily be made only if previously agreed upon or if counsel
     has reason to believe the offer would have been accepted if made
     outside the courtroom.

     b. All should rise and remain standing and quiet while court is
     being formally opened. Counsel should rise and remain standing
     while examining a witness, making an objection, presenting a
     motion, request, or argument, or otherwise addressing the court.
     At other times while court is in session, remain seated.

     c. Address or refer to witnesses or other parties using their
     surname.

     d. While opposing counsel is presenting a matter to the court or
     the jury or is examining a witness, other counsel and their clients
     or associates should not engage in conversation or activity at
     counsel table or otherwise move about the courtroom in a manner
     that might be distracting.


     e. Indicating agreement and disagreement. No one should by
     words, facial expressions, or other conduct indicate personal
     agreement or disagreement with what is being said by the court,
     the jury, an attorney, or a witness. Counsel are responsible for
     assuring that their clients and the friends or supporters of their
     clients are warned about such behavior.


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f. Attendance. Parties are not required to remain in continuous
attendance during civil trials. To facilitate arranging for the
attendance of witnesses and procuring documents, attorneys
may, without need for permission from the court, enter and leave
the courtroom during the trial from time to time if their client
remains represented by co-counsel. Such movements should,
however, be done in an unobtrusive and non-distracting manner.
Paralegals not expected to testify may, without the need for
special permission from the court, be inside the railing to assist
counsel.

g. Findings under Federal Rule of Evidence 104(a). Do not
disclose to the jury in any manner the findings of the court made
under Federal Rule of Evidence 104(a) in connection with
questions of admissibility. For example, do not argue to the jury
that you were allowed to present evidence of A’s statement
because the court found under Federal Rule of Evidence
801(d)(2)(E) that A and B were engaged in a conspiracy.
Similarly, do not ask in the presence of the jury for the court to
“recognize” a witness as an “expert” or as “hostile.”

h. Smoking, eating, and drinking. Smoking, eating, and drinking
(other than water) are never permitted in the courtrooms.

i. Cellular telephones; recording devices.  Keep cellular
telephones in an “off” position while in the courtroom.
Recording devices may be used in the courthouse only with
express permission of the court.




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